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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                   :      Case No:
                                           :
             v.                            :
                                           :      VIOLATIONS:
                                           :
ALAN FISCHER III,                          :      18 U.S.C. § 111(a)(1) and (b), 2
    (also known as “AJ”),                  :      (Assaulting, Resisting, or Impeding
                                           :      Certain Officers Using a Dangerous
                                           :      Weapon)
                                           :      18 U.S.C. § 231(a)(3)
                                           :      (Civil Disorder)
             Defendant.                    :      18 U.S.C. § 1752(a)(1) and (b)(1)(A)
                                           :      (Entering and Remaining in a Restricted
                                           :      Building or Grounds with a Deadly or
                                           :      Dangerous Weapon)
                                           :      18 U.S.C. § 1752(a)(2) and (b)(1)(A)
                                           :      (Disorderly and Disruptive Conduct in a
                                           :      Restricted Building or Grounds with a
                                           :      Deadly or Dangerous Weapon)
                                           :      18 U.S.C. § 1752(a)(4) and (b)(1)(A)
                                           :      (Physical Violence in a Restricted Building
                                           :      or Grounds with a Deadly or Dangerous
                                           :      Weapon)
                                           :      40 U.S.C. § 5104(e)(2)(D)
                                           :      (Violent entry or disorderly conduct)
                                           :      40 U.S.C. § 5104(e)(2)(F)
                                           :      (Act of Physical Violence in the Capitol
                                           :      Grounds or Building)


                         AFFIDAVIT IN SUPPORT OF
                  AN APPLICATION FOR AN ARREST WARRANT

      I, Steven Thames, being first duly sworn, hereby depose and state as follows:

                        INTRODUCTION AND BACKGROUND

      1.     I make this affidavit in support of an application for an arrest warrant for ALAN

FISCHER III, (also known as “AJ”).
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       2.      I am a Special Agent with the FBI and have been since approximately August 2016.

I am currently assigned to the FBI’s Tampa, Florida Field Office and work on the Domestic

Terrorism squad as part of the Joint Terrorism Task Force. I obtained my master’s degree in

International Affairs/Security Studies from East Carolina University and my Bachelor’s degree in

Criminal Justice. As an FBI Special Agent, I have participated in investigations involving the

violations of various federal laws, including laws related to cybercrimes, terrorism, conspiracy,

hate crimes, and other criminal activities. I have gained experience through training at the FBI

Academy in Quantico, Virginia, and through everyday work conducting investigations. I am a

federal law enforcement officer who is engaged in enforcing criminal laws, including violations

of Title 18 of the United States Code. In addition to my regular duties, I am tasked with

investigating criminal activity in and around the U.S. Capitol grounds on January 6, 2021.

       3.      The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other law enforcement officers and witnesses. This

affidavit is intended to show merely that there is sufficient probable cause for the requested warrant

and does not set forth all of my knowledge about this matter.

       4.      The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions

around the U.S. Capitol include permanent and temporary security barriers and posts manned by

U.S. Capitol Police. Only authorized people with appropriate identification are allowed access

inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed

to members of the public.

       5.      On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint

session, elected members of the United States House of Representatives and the United States



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Senate were meeting in separate chambers of the United States Capitol to certify the vote count of

the Electoral College of the 2020 Presidential Election, which had taken place on November 3,

2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately

1:30 p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.

Vice President Mike Pence was present and presiding, first in the joint session, and then in the

Senate chamber.

       6.      As the proceedings continued in both the House and the Senate, and with Vice

President Mike Pence present and presiding over the Senate, a large crowd gathered outside the

U.S. Capitol. As noted above, temporary and permanent barricades were in place around the

exterior of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep

the crowd away from the Capitol building and the proceedings underway inside.

       7.      At such time, the certification proceedings were still underway and the exterior

doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.

Capitol Police attempted to maintain order and keep the crowd from entering the Capitol; however,

shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by

breaking windows and by assaulting members of the U.S. Capitol Police, as others in the crowd

encouraged and assisted those acts.

       8.      Shortly thereafter, at approximately 2:20 p.m. members of the United States House

of Representatives and United States Senate, including the President of the Senate, Vice President

Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session

of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice

President Pence remained in the United States Capitol from the time he was evacuated from the

Senate Chamber until the sessions resumed.



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       9.      During national news coverage of the aforementioned events, video footage which

appeared to be captured on mobile devices of persons present on the scene depicted evidence of

violations of local and federal law, including scores of individuals inside the U.S. Capitol building

without authority to be there.

                                      PROBABLE CAUSE

       10.     ALAN FISCHER, also known as “AJ,” (FISCHER) is a 27-year-old resident of

Florida. According to records associated with his Florida driver’s license, FISCHER is 6’0.” As

a part of this investigation, I have reviewed the image of FISCHER associated with his October

2018 Florida driver’s license which depicts FISCHER, who has slicked back brown hair and a

brown beard.

       11.     According to records lawfully obtained from Verizon Wireless, a telephone number

ending in 4811 (the “4811 Number”) is subscribed to an individual with the initials “SV” at an

address on Hills Avenue in Tampa, Florida (the “Hills Avenue Address”).1

       12.     According to records from Southwest Airlines, FISCHER flew from Tampa,

Florida, to Baltimore/Washington International Airport, on January 4, 2021. The 4811 Number

was the telephone number associated with FISCHER’s flight. Records from Hertz indicate that

FISCHER rented a vehicle in Tysons Corner, Virginia on January 8, 2021, which he returned to a

location in Tampa, Florida on January 9, 2021.       The 4811 Number was the telephone number

associated with FISCHER’s car rental. Venmo, USAA and JP Morgan Chase records obtained

pursuant to subpoenas also link FISCHER to the 4811 Number.



       1
               SV is believed to be FISCHER’s current or former girlfriend. Records from
Southwest Airlines and Marriott link FISCHER to the Hills Avenue Address, although these
records also include an apartment number that is not included in records from the PROVIDER.
USAA records link both FISCHER and SV to the same apartment at the Hills Avenue Address
and a common bank account.
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       13.     On June 9, 2021, FISCHER was the driver in a car that was the subject of a car stop

by the Tampa (Florida) Police Department. This car stop was recorded on the officer’s body worn

camera. I have reviewed this body worn camera, which depicts FISCHER, who has slicked back

brown hair and has a brown beard.

       14.     In August 2021, the FBI interviewed an individual referred to herein as the Witness.

The Witness knows FISCHER from Proud Boy events in the Tampa/St. Petersburg, Florida

area. The Witness was shown photographs of the individual identified herein as FISCHER. The

Witness identified the individual depicted in these photographs as “AJ,” which is FISCHER’s

nickname.2

       Certain Proud Boys’ Conduct at and Around the Capitol on January 6, 2021

       15.     The Proud Boys describes itself as a “pro-Western fraternal organization for men

who refuse to apologize for creating the modern world; aka Western Chauvinists.” Proud Boys

members routinely attend rallies, protests, and other events, some of which have resulted in

violence involving members of the group. There is an initiation process for new members of the

Proud Boys, and members often wear black and yellow polo shirts or other apparel adorned with

Proud Boys logos to public events.

       16.     On January 6, 2021, individuals that agents have identified as a group of people

that hold themselves out as Proud Boys (the “Proud Boys Group”) were observed on the east side

of the U.S. Capitol. Also, on January 6, 2021, the Proud Boys Group was observed marching at

the front of a group of individuals on Constitution Avenue, Northwest, in the area around First

Street, Northwest. The Proud Boys Group was engaged in various chants and response calls,

including “F*** Antifa!” and “Whose streets? Our streets!”


       2
               Records from Apple indicate that both the 4811 Number and the Hills Avenue
Address are linked to “AJ Fischer.”
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       17.     The Proud Boys Group then stopped at or around 12:15 p.m. near Second Street

and Constitution Avenue, NW, near some food trucks, before making their way to the west side of

the outer secure perimeter surrounding the Capitol grounds on First Street, NW.

                         The Defendant’s Actions on January 6, 2021

       18.     On January 6, 2021, prior to the attack on the Capitol, various groups and

individuals walked in the streets of Washington, D.C., around and to the area of the Capitol. Media

and other third-parties documented some of these groups’ and individuals’ movements that day.

Fischer marched with the Proud Boys Group. Image 1 (below) is taken from a video taken on

January 6, 2021 with the U.S. Capitol building in the background. Fischer, who has slicked back

brown hair and a brown beard, can be seen wearing dark sunglasses, a black zip-up Carhartt jacket,

a grey hooded sweatshirt, grey pants and brown shoes.




                                             Image 1

       19.     Image 2 below depicts Fischer when the Proud Boys Group briefly stopped at food

trucks located near the Capitol.




                                                6
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                                           Image 2

       20.    Fischer can later be seen on the west front of the U.S. Capitol. See Images 3A and

3B, which is a zoomed in portion of Image 3A.




                                          Image 3A




                                                7
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                                            Image 3B

       21.     After the crowd overran the line of officers protecting the west side of the Capitol,

Fischer moved to the vicinity of the terrace on the west side of the Capitol building where a stage

for the Presidential Inauguration was being constructed (the “Lower West Terrace”) and positioned

himself close to the arched entrance to a passageway that connects the Lower West Terrace and

the interior of the U.S. Capitol building (the “Archway” and the “Tunnel,” respectively). At

approximately, 2:40 p.m., police officers entered the Tunnel and began to form a protective line

with riot shields behind a set of glass inside of the Tunnel. Soon thereafter, numerous rioters

entered the Tunnel.

       22.     At approximately 3:15 p.m., Fischer walked through the Archway and entered the

Tunnel, as depicted below:


                                                 8
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                                              Image 4

       23.     After entering the tunnel, Fischer stopped abruptly, turned around and pulled on his

mask and the hood of his hooded sweatshirt, before again facing the line of officers and the Capitol

surveillance camera.

       24.     Between at least 3:16 p.m. and 3:18 p.m., rioters, including Fischer, collectively

pushed against the officers – at times rocking together in a coordinated fashion – in an effort to

breach the line of officers and gain entry to the interior of the Capitol building. During this time,

several rioters took shields from the officers, which the rioters, including Fischer passed back out

of the Tunnel. Fischer’s position within the crowd is depicted in Images 5 and 6 below. As

depicted in Image 6, Fischer also encouraged other rioters, including by yelling “Push!” while in

the Tunnel.




                                                 9
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                            Image 5




                            Image 6




                               10
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       25.     Between approximately 3:18 p.m. and 3:19 p.m., the line of officers pushed the

rioters, including Fischer, out of the Tunnel.




                                                 Image 7

       26.     As seen in Image 8, outside of the Archway, Fischer displayed a hand gesture

associated with the Proud Boys.     Fischer also chanted in unison with the crowd of rioters and

appeared to celebrate with multiple other rioters fist bumping and then embracing one man and

fist bumping another.




                                                   11
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                                              Image 8

       27.     Fischer also again joined a group of rioters who collectively pushed against the

officers – at times rocking together in a coordinated fashion – in an effort to breach the line of

officers and gain entry to the interior of the Capitol building, as depicted in Image 9.




                                              Image 9


                                                 12
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       28.     At several points while Fischer pushed against the line of officers, he turned back

to the rioters behind him and yelled apparent encouragement, as depicted in Images 10 and 11.

Fischer also at one point gestured – encouraging the other rioters to continue to push forward.




                                            Image 10




                                            Image 11

                                                13
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       29.     Fischer remained on the Lower West Terrace and continued to work with other

rioters to push against the line of officers protecting the Capitol in the Archway and Tunnel for a

period of over 45 minutes. Image 12, below, shows Fischer at the Archway at 4:02 pm as he

continues to push with other rioters against the line of officers.




                                              Image 12

       30.     Later, Fischer returned to the west front of the Capitol. Video depicts him holding

an orange traffic cone in his right hand. He then picks up a chair and walks toward the north

scaffolding where law enforcement officers are stationed.        Seconds later, Fischer can be seen

throwing an orange traffic cone and chair in the direction of the officers.




                                                  14
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                            Image 13




                            Image 14




                               15
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                                            Image 15

       31.     Less than two minutes later, Fischer is observed walking back towards the north

scaffolding on the west front of the Capitol with what appears to be a pole in his hand, which he

can be observed throwing at the line of officers.




                                            Image 16


                                                16
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                                          Image 17

       32.     Fischer can then be observed walking away from the scaffolding before returning

again less than one minute later with another chair, which he also throws toward the officers

stationed at the scaffolding.




                                          Image 18

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                                            Image 19




                                            Image 20

       33.     Additional footage also depicts Fischer holding what appears to be a chair in his

hands seconds before a chair is thrown at the line of officers in front of the north scaffolding on

the west front of the Capitol.


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                            Image 21




                            Image 22




                               19
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                                CONCLUSIONS OF AFFIANT

       34.     Based on the foregoing, your affiant submits that there is probable cause to believe

that FISCHER violated 18 U.S.C. 111(a)(1) and (b), which makes it a crime for anyone to forcibly

assault, resist, oppose, impede, intimidate, or interfere with a person designated in 18 U.S.C.

§ 1114 while engaged in or on account of the performance of official duties and using a deadly or

dangerous weapon (including a weapon intended to cause death or danger but that fails to do so

by reason of a defective component). Persons designated within Section 1114 include certain

federal officers or employees or those assisting them.

       35.     There is also probable cause to believe that FISCHER violated 18 U.S.C. 231(a)(3),

which makes it unlawful to commit or attempt to commit any act to obstruct, impede, or interfere

with any fireman or law enforcement officer lawfully engaged in the lawful performance of his

official duties incident to and during the commission of a civil disorder which in any way or degree

obstructs, delays, or adversely affects commerce or the movement of any article or commodity in

commerce or the conduct or performance of any federally protected function. For purposes of

Section 231 of Title 18, a federally protected function means any function, operation, or action

carried out, under the laws of the United States, by any department, agency, or instrumentality of

the United States or by an officer or employee thereof. This includes the Joint Session of Congress

where the Senate and House count Electoral College votes.

       36.     Your affiant also submits that there is also probable cause to believe that FISCHER

violated 18 U.S.C. § 1752(a)(1), (2) and (4) and (b)(1)(A), which makes it a crime to (1) knowingly

enter or remain in any restricted building or grounds without lawful authority to do so; (2)

knowingly, and with intent to impede or disrupt the orderly conduct of Government business or

official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any



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restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the

orderly conduct of Government business or official functions; and (4) knowingly engage in any

act of physical violence against any person or property in any restricted building or grounds; or

attempts or conspires to do so. For purposes of Section 1752 of Title 18, a “restricted building”

includes a posted, cordoned off, or otherwise restricted area of a building or grounds where the

President or other person protected by the Secret Service, including the Vice President, is or will

be temporarily visiting; or any building or grounds so restricted in conjunction with an event

designated as a special event of national significance.

       37.     Your affiant also submits that there is also probable cause to believe that FISCHER

violated 40 U.S.C. § 5104(e)(2)(D), which makes it a crime to willfully and knowingly utter loud,

threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the

Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly

conduct of a session of Congress or either House of Congress, or the orderly conduct in that

building of a hearing before, or any deliberations of, a committee of Congress or either House of

Congress.




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       38.     Finally, your affiant submits that there is also probable cause to believe that

FISCHER violated 40 U.S.C. § 5104(e)(2)(F), which makes it a crime to willfully and knowingly

engage in an act of physical violence in the Grounds or any of the Capitol Buildings.




                                                 ___________________________________
                                                 Special Agent Steven Thames
                                                 Federal Bureau of Investigation


Subscribed and sworn pursuant to Fed. R. Crim. P. 4.1 and 41(d)(3) on January 13, 2022.
                                                                    G. Michael
                                                                    Harvey
                                                 ___________________________________
                                                 G. MICHAEL HARVEY
                                                 U.S. MAGISTRATE JUDGE




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